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               United States Court of Appeals
                                 For the First Circuit
                                    _____________________
No. 25-1204
                                       UNITED STATES,

                                             Appellee,

                                                 v.

                                       LICHENG HUANG,

                                      Defendant - Appellant.
                                      __________________

                                              Before

                                 Gelpí, Kayatta and Montecalvo,
                                         Circuit Judges.
                                     __________________

                                          JUDGMENT

                                     Entered: March 27, 2025

       Defendant was convicted of a money-laundering conspiracy and sentenced to 12 months
and 1 day of imprisonment. Judgment entered on December 23, 2024.

        On February 17, 2025, giving defendant the benefit of the prison-mailbox rule, defendant
filed a notice of appeal in which he says that he instructed his counsel to file a notice of appeal,
but that the attorney failed to do so. He states that he became aware of the alleged failure after
arriving at his place of imprisonment and asking his friend to check PACER at which time he
became aware that the NOA had not been filed.

        The court issued an order to show cause whether the appeal should be dismissed as
untimely, and defendant and the government responded. In its response, the government asserts
that the appeal is untimely and should be dismissed. Under these circumstances, where the notice
of appeal was filed 56 days after judgment, the appeal is dismissed. Defendant may seek remedies,
if any, under 28 U.S.C. § 2255(f).



                                                       By the Court:

                                                       Anastasia Dubrovsky, Clerk
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cc:
Charles Henry Fasoldt
Licheng Huang
Christopher John Pohl
Donald Campbell Lockhart
Alexia R. De Vincentis
Meghan Chambers Cleary
Brian Alexander Fogerty
